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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

                                     Electronically Filed
                           CIVIL ACTION NO. 3:15-cv-00630-DJH


ANGELA HARDIN, Executrix of the Estate
Of Cecilia Joan Flahiff                                                       PLAINTIFF

v.
                             AGREED ORDER OF DISMISSAL

BARDSTOWN MEDICAL INVESTORS, LTD.
d/b/a LIFE CARE CENTER OF BARDSTOWN                                       DEFENDANTS

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       Pursuant to FRCP 41(a)(1)(ii), Plaintiff Angela Hardin, as Executrix of the Estate of Cecilia

Joan Flahiff, and Defendants Life Care Centers of America, Inc., Bardstown Medical Investors,

Ltd, d/b/a Life Care Center of Bardstown, by and through counsel, hereby stipulate that they have

agreed to a settlement of this litigation and that Plaintiff’s Complaint shall be and is hereby

DISMISSED with prejudice, with each party to bear their own fees and costs.

       This _______day of _______________________, 2016.


                                             ____________________________________
                                             CHIEF JUDGE JOSEPH H. MCKINLEY, JR.

                                                                               April 26, 2016
Have seen and agreed to:

_/s/Jeffrey T. Sampson (with permission)             _/s/Danielle J. Lewis________
Jeffrey T. Sampson                                   William K. Oldham
The Sampson Law Firm                                 Jennifer M. Barbour
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